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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF OREGON




SECURITIES AND EXCHANGE                        Case No.: 3:22-cv-00621-SB
COMMISSION,

                        Plaintiff,

v.                                             JUDGMENT AS TO DEFENDANT
                                               AMERICAN EQUITIES, INC.
AMERICAN EQUITIES, INC., AMERICAN
EAGLE MORTGAGE MANAGEMENT,
LLC, ROSS C. MILES and MAUREEN
T. WILE,

                        Defendants.
_____________________________________




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             JUDGMENT AS TO DEFENDANT AMERICAN EQUITIES, INC.

       The Securities and Exchange Commission having filed a Complaint and Defendant

American Equities, Inc. (“Defendant”) having entered a general appearance; consented to the

Court’s jurisdiction over Defendant and the subject matter of this action; consented to entry of

this Judgment without admitting or denying the allegations of the Complaint (except as to

jurisdiction); waived findings of fact and conclusions of law; and waived any right to appeal

from this Judgment:

                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,



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agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).


                                                 II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or

        (c)     to engage in any transaction, practice, or course of business which operates or

                would operate as a fraud or deceit upon the purchaser.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Judgment by personal service or otherwise: (a) Defendant’s officers,

agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                III.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

shall pay disgorgement of ill-gotten gains, prejudgment interest thereon, and a civil penalty


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pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the

Exchange Act [15 U.S.C. § 78u(d)(3)]. The Court shall determine the amounts of the

disgorgement and civil penalty at a hearing upon motion of the Commission. Prejudgment

interest shall be calculated from July 1, 2011, based on the rate of interest used by the Internal

Revenue Service for the underpayment of federal income tax as set forth in 26 U.S.C.

§ 6621(a)(2). In connection with the hearing on the Commission’s motion for disgorgement

and/or civil penalties: (a) Defendant will be precluded from arguing that it did not violate the

federal securities laws as alleged in the Complaint; (b) Defendant may not challenge the validity

of the Consent or this Judgment; (c) solely for the purposes of such motion, the allegations of the

Complaint shall be accepted as and deemed true by the Court; and (d) the Court may determine

the issues raised in the motion on the basis of affidavits, declarations, excerpts of sworn

deposition or investigative testimony, and documentary evidence, without regard to the standards

for summary judgment contained in Rule 56(c) of the Federal Rules of Civil Procedure. In

connection with the Commission’s motion for disgorgement and/or civil penalties, the parties

may take discovery, including discovery from appropriate non-parties.

                                                 IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

shall comply with all of the undertakings and agreements set forth therein.

                                                 V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.




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                                               VI.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

Procedure, the Clerk is ordered to enter this Judgment forthwith and without further notice.


          4/28/2022
Dated: ___________________



                                              ____________________________________
                                              MICHAEL W. MOSMAN
                                              Senior United States District Judge




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